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FEE eT COURT
EASTERN DISTRICT OF WASHINGTON
JUL 18 2024
SEANF. MCAVOY. CLEFT ousry
UNITED STATES DISTRICT COURSE -acxtino WASHINGTON
EASTERN DISTRICT OF WASHINGTON
UNITED STATES OF AMERICA, No. 2:13-CR-06070-SAB-1
Plaintiff,
vs. ACKNOWLEDGMENT OF NOTICE
OF RIGHTS — PETITION — POST
KENNETH RICHARD ROWELL, JUDGMENT

Defendant’s Printed Name.

The undersigned defendant does hereby acknowledge: I appeared on this date

and was advised as follows:

1. Of the charge or charges placed against me, and I acknowledge receipt of
a copy of the Petition for Warrant or Summons for Offender Under
Supervision;

2. Of the maximum penalty provided by law;

3. My right to remain silent at all times and if I make a statement it can be
used against me;

4. My right to retain my own counsel; and if I am without funds, to have
counsel appointed to represent me in this matter;

5. My right to a bail hearing, if I am in custody.

6. My right to a preliminary hearing, if I am in custody.

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7. My right, ifI am not a United States citizen, to request a Government
attorney or law enforcement official notify my country’s consulate of my
arrest or detention.

Date: 7/ i g/ ZY

Interpreter Signature

Interpreter Printed Name Leek Signattre _—

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